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  NOT FOR PUBLICATION

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

  GRACO, INC., et al.,                :                   Civil Action No.: 08-1304 (FLW)
                                      :
        Plaintiffs,                   :
                                      :
        v.                            :                   MEMORANDUM OPINION
                                      :                   AND ORDER
  PMC GLOBAL, INC., et al.,           :
                                      :
        Defendants.                   :
  ____________________________________:

  ARPERT, U.S.M.J

  I.      INTRODUCTION

          This matter comes before the Court on Motion by Plaintiffs Graco, Inc. and Graco

  Minnesota, Inc. (collectively “Plaintiffs” or “Graco”) to compel the production of documents or, in

  the alternative, for an in camera review of these documents [dkt. entry no. 465], returnable October

  18, 2010. Defendants PMC Global, Inc., PMC, Inc., PMC Europe Investments, S.L., Denis S.

  Commette (“Commette”), and Gama Machinery USA, Inc. (“Gama USA”) (collectively

  “Defendants” or “PMC”) filed opposition on October 4, 2010. For the reasons stated herein, Graco’s

  Motion is granted insofar as the Court will conduct an in camera review.

  II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

          Graco filed a Complaint [dkt. entry no. 1] on March 14, 2008 alleging “breach of contract

  and related duties” (see Pl.’s Complaint, dkt. entry no. 1 at 19-21), “tortious interference” (Id. at 21-

  23), “misappropriation of trade secrets and misuse of confidential business information” (Id. at 23-

  24), violation of the “Lanham Act” (Id. at 24-25), violation of the “New Jersey Fair Trade Act” (Id.

  at 25-26), “unfair competition” (Id. at 26), and “unjust enrichment” (Id.) related to its acquisition of

  Gusmer Corporation and Gusmer Europe (collectively, “Gusmer”) from PMC by way of two (2)
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  Stock Purchase Agreements (“SPA”) (Id. at 7, ¶¶ 28-29). More specifically, Graco alleges that

  Gama USA, a Delaware corporation and PMC, Inc., subsidiary that “also does business as Gama-

  Europe and Garraf Maquinaria, S.A.” (see Pl.’s Second Amended Complaint, dkt. entry no. 91 at 3,

  ¶ ), and Garraf Maquinaria S.A. (“Garraf”), a Spanish corporation with PMC affiliations that “also

  does business as Gama and Gama-Europe” (see Pl.’s Second Amended Complaint, dkt. entry no. 91

  at 3, ¶ 7), “are manufacturing, marketing, and selling spare parts for Gusmer products without

  Graco’s permission...and are using Graco Trade Secrets and Confidential Business Information to

  manufacture these spare parts” and “are directly soliciting the trade of current customers of

  Graco...using Graco Trade Secrets and Confidential Business Information”. See Pl.’s Complaint at

  17-18, ¶ 75, 81; see also id. at 17-18, ¶¶ 76-79, 82-86. Graco filed an Amended Complaint on July

  24, 2008 [dkt. entry no. 36] and a Second Amended Complaint on May 22, 2009 [dkt. entry 91]. The

  Second Amended Complaint sets forth a list of infringing Gama USA and Garraf products then

  known to Graco. See Pl.’s Second Amended Complaint at 21, ¶ 93. Graco asserts that this is a “non-

  exclusive” list. [dkt. entry no. 499 at 3]

          Graco has alleged that Commette and Carles Royo (“Royo”), Gusmer employees who worked

  for Graco after execution of the SPA, “participated in and received confidential communications

  relating to Graco’s confidential strategy...which [was] designed to transform and integrate Gusmer

  operations into Graco’s existing business” and “had access to highly sensitive confidential, non-

  public, proprietary information belonging to Graco and its subsidiaries” including “The Graco Trade

  Secrets and Confidential Business Information”. See Pl.’s Complaint at 11, ¶¶ 43, 44. Thereafter,

  upon the end of Commette and Royo’s employment relationship with Graco and the formation of

  Gama USA and Garraf, Graco alleges that Gama USA and Garraf developed “consulting

  relationships with...Commette and Royo” in order “to solicit and obtain the trade of customers” and


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  that Commette and Royo “inevitably will have to disclose the Graco Trade Secrets and Confidential

  Business Information”. Id at 14-17, ¶¶ 58-59, 63-65, 72-74. Importantly, Graco has asserted that

  PMC had more than an “arm’s-length distributor relationship” with Garraf based upon its allegations

  that “PMC exercised control over Garraf’s operations, helped Garraf to secure a 712,500€ loan from

  a PMC affiliated company, and agreed to purchase equipment from Garraf in order to provide it with

  operating revenue”. See Pl.’s Br. at 3.

         In its defense, PMC has maintained that “the foundation of Graco’s misappropriation

  conspiracy hinges upon the premise that Royo and PMC violated respective non-compete agreements

  with Graco” but that “Royo does not have any non-compete obligations” based upon rulings made

  by Spanish courts and that “PMC does not have any non-compete obligations to Graco” based upon

  rulings made by this Court. See Def.’s Opp’n Br. at 1; see also Decl. of K. Joon Oh (“Oh”), Exhs.

  A-B; dkt. entry no. 81 at 28. PMC contends that Graco has failed to cite “any supporting facts...or

  allegedly false testimony” in order to bolster its claims that “PMC executives testified falsely about

  the timing of key communications”, that “PMC executives denied the existence of a draft written

  investment agreement between PMC and Garraf”, or that “PMC’s witnesses also falsely testified

  they had no knowledge of the designs of the Garraf equipment”. Id. at 1-2. PMC asserts that

  “Graco’s conspiracy theory and its [claims] against PMC’s executives do not relate to the privilege

  log issue raised by Graco’s Motion”. Id. at 2.

         At issue here are “documents reflecting agreements, communications, and negotiations

  between PMC and Garraf”. See Pl.’s Br. at 3. Graco claims that PMC originally “failed and refused

  to produce such documents” because “there was simply a lack of written documentation surrounding

  this relationship”. Id. at 3-4. On July 20, 2010, however, Graco states that “PMC produced a new

  privilege log that disclosed more than 250 documents reflecting communications between Garraf and


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  PMC...regarding the formation of their business relationship” and simultaneously “attempted to claw

  back some of the few documents regarding this relationship that...had [been] produced” based upon

  “a single communication (“Entry No. 7")...that...gave PMC a basis to withhold these documents by

  claiming that they are protected by the common-interest privilege”. Id. at 4-5. On July 30, 2010,

  Graco states that “PMC produced an updated version of their...privilege logs...[that] revealed for the

  first time that as many as 122 documents that PMC had...withheld on grounds of attorney-client or

  work-product privilege were now being withheld by PMC solely under the guise of the common-

  interest privilege”. Id. at 5. Graco maintains that “many of PMC’s privilege assertions...are

  completely unsupportable”. Id. at 5-6. Graco notes that it “has made every reasonable effort to

  assess the validity of PMC’s privilege designations”, including repeatedly requesting that PMC

  “provide information” about “70 previously unidentified individuals who sent or received documents

  that PMC [has] designated as privileged” and requesting that “PMC identify what entities the

  lawyers listed on Entry No. 7 represented and whether that representation is continuing”. Id. at 6-7.

  Graco states that PMC’s response to these requests “was insufficient to permit a proper privilege

  analysis”. Id. at 7.

          In its defense, PMC claims that it has “withheld communications among PMC, its legal

  counsel, and Royo or Manuel Moreno (“Moreno”) reflecting PMC’s legal advice about potential

  business arrangements with Royo, Moreno, and Garraf”. See Def.’s Opp’n Br. at 2. PMC notes that

  some of these communications took place “before Graco’s lawsuit” while others took place “after

  the case was filed”. Id. PMC maintains that “these communications are based on underlying

  attorney-client communications or attorney work product” and that, although “Garraf has now been

  defaulted”, the privilege “is not waived by virtue of any disclosure to Royo or Moreno because at

  the time all parties...had a common legal interest in structuring proposed business arrangements in


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  a way that would comply with the law and avoid litigation”. Id. at 2-3. PMC states that “the

  common interest is not hypothetical or speculative” as Entry No. 7 is “a legal memorandum on this

  very subject”. Id. at 3. PMC notes that it has identified “all other pre-litigation communications

  withheld on the basis of the parties’ common interest in exploring a potential working relationship

  that would avoid or mitigate this litigation risk based specifically on Entry No. 7”. Id. PMC also

  points out that “Garraf and PMC entered into a joint defense agreement in this lawsuit that...protects

  their post-litigation legal communications”. Id.

         On September 24, 2010, Graco filed the instant Motion seeking a Court Order compelling

  the production of certain documents or, in the alternative, for an in camera review. See Pl.’s

  Proposed Form of Order, dkt. entry no. 465-1.

         A.      Graco’s Arguments in Support of the Motion to Compel

         Initially, Graco asserts that “many of PMC’s descriptions of the documents on their privilege

  logs are so thin as to render meaningful analysis nearly impossible...[and therefore] do not comply

  with Rule 26(b)(5)(A)” so as to prevent PMC from meeting its “burden to establish the validity of

  ...privilege designations”. See Pl.’s Br. at 7-8.

                 1.      Defendants are concealing non-legal business communications behind
                         attorney-client and work-product privilege claims.

                         (a)     The attorney-client privilege cannot protect Defendants’ business
                                 communications from discovery.

         Citing La. Mun. Police Employees Ret. Sys. v. Sealed Air Corp., 253 F.R.D. 300, 306 (D.N.J.

  2008) and Leonen v. Johns-Mansville, 135 F.R.D. 94, 99 (D.N.J. 1990), Graco maintains that

  “communications with attorneys are privileged only if the predominant purpose and content of the

  communication is to aid in the provision of legal advice” as opposed “to business advice”. Id. at 8.

  Graco contends that PMC “must show that the communications would not have been made but for


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  the client’s need for legal advice or services”. Id. Graco argues that PMC “cannot meet that

  standard” because “on more than one occasion PMC invoked Paragraph 8 of the Protective Order

  to claw back purely business-related communications with PMC in-house attorneys and paralegals

  on grounds of attorney-client privilege”. Id. Referencing a “draft investment agreement that PMC

  negotiated with Garraf” which PMC clawed back, Graco argues that “those documents were purely

  business-related and had no legal content at all” and, therefore, Graco “suspects that many of the

  hundreds of other attorney-client-privilege entries on PMC’s privilege logs are similarly devoid of

  legal advice”. Id. at 8-9.

          Graco contends that “Defendants have asserted the attorney-client privilege over

  communications that were published to third parties outside the scope of any conceivable attorney-

  client relationship with their in-house counsel”. Id. at 9. Referencing a letter dated August 12, 2010,

  Graco maintains that “Defendants are asserting privilege over communications with third parties who

  Defendants identify as consultants...[including] eleven communications involving Arnauld de Briey,

  ...a former employee and consultant to PMC in Europe[,]...Dr. Martin Wasserman, a former

  employee and consultant[,]...and Li Lil, Mark Kramer, and Troy Rudd, who they...describe as tax

  consultants to PMC”. Id. Citing Sealed Air, 253 F.R.D. at 311 and 1 Edna Selan Epstein, The

  Attorney-Client Privilege and the Work Product Doctrine at 219 (5th ed. 2007), Graco argues that

  “such publication to non-attorney third parties generally constitutes waiver of attorney-client

  privilege...particularly...where...the party asserting the privilege has presented no evidence to satisfy

  its burden to show that the third parties were agents of the attorneys and that their involvement was

  necessary for the representation – meaning that the agent evaluated the information and in a sense

  translated it into understandable terms for the non-expert attorney”. Id. at 10. Graco maintains that

  “the mere fact that these communications may have later become beneficial to counsel’s


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  representation of the client does not render them privileged”. Id. Graco argues that “PMC should

  be compelled to produce all documents withheld on the basis of attorney-client privilege that have

  a predominant purpose other than the provision of legal advice regardless of whether they were sent

  to or received by an attorney” or, at a minimum, “the Court should conduct [an] in camera review”

  of these documents “to determine which...are actually privileged”. Id.

                           (b)     Many of the documents over which Defendants assert the work-
                                   product privilege do not appear to be related to actual or
                                   anticipated litigation.

          Citing FED . R. CIV . P. 26(b)(3), In re Cendant Corp. Sec. Litig., 343 F.3d 658, 662 (3d Cir.

  2003), and 8 Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc. § 2024, at 359 (2d ed. 1994),

  Graco maintains that “the work-product doctrine applies only to documents and tangible things

  prepared in anticipation of litigation or for trial by or for another party or by or for that other party’s

  representative”. Id. at 11. Graco argues that “Defendants’ logs suggest that they are...using the

  work-product doctrine in order to shield documents from discovery” that “have no apparent

  connection to anticipated or ongoing litigation”. Id. Referencing a June 14, 2007 email and

  attachment between “former Gama president Commette and PMC executive T.C. Cheong” which

  PMC described as “communication re: employment agreement and employment contract letter

  agreement”, Graco argues that these documents “appear to relate to a garden-variety employment

  agreement”, “predate Graco’s initiation of this litigation by many months”, and do not merit “work-

  product” privilege protection. Id. Graco argues that “PMC should be compelled to produce all

  documents withheld on grounds of work-product privilege that were not prepared by or at the

  direction of an attorney in anticipation of litigation or for use at trial” or, in the alternative, the Court

  should conduct an in camera review of “PMC’s purported work product”. Id. at 12.

                  2.       Defendants have improperly withheld documents based upon the
                           common-interest doctrine.

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          Citing Sealed Air, 253 F.R.D. at 309, In re Teleglobe Comm. Corp., 493 F.3d 345, 364 (3d

  Cir. 2007), and Cooper Health Sys. v. Virtua Health, Inc., 259 F.R.D. 208, 213 (D.N.J. 2009), Graco

  maintains that “the common-interest doctrine is not a separate, freestanding privilege” but is “instead

  an exception to the general rule that voluntary disclosure of an attorney-client communication to a

  third party waives the attorney-client privilege”. Id. at 12. Graco contends that “the common-

  interest doctrine allows attorneys representing clients with substantially similar legal interests to

  share otherwise privileged information without waiving the underlying privilege”. Id. Citing

  Teleglobe, 493 F.3d at 363-66, Graco argues that is is PMC’s burden to show that the common-

  interest doctrine applies based upon circumstances where “(1) the underlying communications are

  otherwise privileged, (2) both parties are represented by different attorneys and the communications

  are between those attorneys, and (3) the parties share a substantially similar legal interest”. Id. at 12-

  13.
                          (a)     The documents over which Defendants assert the common
                                  interest doctrine are not subject to any underlying privilege.

          Citing Cooper Health, 259 F.R.D. at 213, Graco maintains that “the common-interest

  doctrine only applies when an underlying privilege is established”. Id. at 13. Graco notes that “the

  communications over which PMC [has] asserted the common-interest doctrine appear to be primarily

  business related rather than for purposes of securing legal advice or in anticipation of litigation” and

  claims that PMC has “clawed back non-privileged, business-related documents under the guise of

  the common-interest doctrine”. Id. Referencing “Entry Nos. 72 and 73 on the revised June 3, 2010

  log which [are described] as ‘Communication to counsel re: distributor agreement’”, Graco argues

  that PMC withheld these documents based upon “attorney-client, work-product, and common-

  interest privileges” without a description indicating that “a client was seeking or receiving legal

  advice”. Id. Graco represents that PMC “provided similar descriptions for many other log


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  entries...withheld pursuant to the common-interest doctrine”. Id. Graco states that “the vast majority

  of documents PMC [has] withheld under the common-interest doctrine are described as ‘Document

  in connection with Entry No. 7’ or ‘Communication based on or in connection with Entry No. 7’”

  and argues that “those descriptions provide no indication that a client was seeking or receiving legal

  advice nor do they provide any details from which to evaluate the privilege”. Id. at 14. Citing

  Cooper Health, 259 F.R.D. at 214, Graco argues that the “common-interest doctrine cannot apply”

  because the documents PMC clawed back “appear to have been business-related communications

  that were not privileged in the first instance”. Id.

                         (b)     The communications were not between PMC and Garraf
                                 attorneys.

         Citing Teleglobe, 493 F.3d at 364-65, Graco notes that “in addition to requiring the

  underlying documents to be privileged, the common-interest doctrine requires that both parties be

  represented by different attorneys in the subject communication” in order to “allow attorneys to

  coordinate their clients’ criminal defense strategies”. Id. at 14. Graco maintains that PMC’s logs

  “show that no attorney represented Garraf in the communications withheld based on the common-

  interest doctrine” but rather, in most instances, “Garraf negotiated through Carles Royo or...Manuel

  Moreno”, neither of whom “served as legal counsel in these communications”. Id. at 15. Graco

  points out that “Garraf repeatedly claimed that Carles Royo was neither an employee nor an agent

  of any party, including Garraf itself – a position that if credited would eviscerate any argument that

  communications on which he was copied were privileged”. Id. Graco argues that because “the

  subject communications were not between legal counsel for PMC (on the one hand) and legal

  counsel for Garraf (on the other), the common-interest doctrine does not apply”. Id. Even if PMC

  “shared an attorney with Garraf and thus those communications were protected under the joint

  privilege”, Graco argues that the “joint privilege does not apply” because “Garraf and PMC were on

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   opposite sides of the business negotiations that are the subject of these documents and therefore their

   interests were not identical” pursuant to Teleglobe, 493 F.3d at 366. Id.

          Citing Cooper Health, 259 F.R.D. at 214 and Teleglobe, 493 F.3d at 364, Graco maintains

   that “even if Garraf had been represented by counsel the common-interest doctrine would not apply

   if that attorney was not a party to the communications in question” as the “common-interest doctrine

   does not extend to communications between non-attorneys who simply have a joint interest”. Id. at

   15-16. Graco contends that in order to be protected, “the communications must be amongst

   attorneys” meaning that “they must be shared with the attorney of the member of the community of

   interest”. Id. at 16. Citing Teleglobe, 493 F.3d at 365, Graco claims that “the requirement that the

   communication be amongst attorneys exists to prevent the disclosing party from using the common-

   interest doctrine as a post hoc justification for its impermissible disclosures to third parties” and,

   therefore, the “common-interest doctrine...supplants the waiver rule only when attorneys, not clients,

   decide to share information in order to coordinate legal strategies”. Id. Although PMC may argue

   that “New Jersey law does not require the communications to be between counsel” pursuant to

   LaPorta v. Gloucester County Bd. of Chosen Freeholders, 340 N.J. Super. 254, 262 (App. Div.

   2001), Graco notes that “the Third Circuit’s and the District of New Jersey’s decisions in Teleglobe

   and Cooper Health...were decided after the LaPorta case and both rejected LaPorta’s determination

   that the communication may be between counsel for a party and an individual representative of the

   other party”. Id. Citing U.S. v. Schwimmer, 892 F.2d 237, 244 (2d Cir. 1989), Graco argues that

   “LaPorta does not change the rule that both parties must be represented by counsel” and, therefore,

   “because Garraf was not represented by counsel the common-interest privilege cannot apply”. Id.

          Graco contends that “PMC [has] withheld numerous documents based upon the common-

   interest doctrine that were never sent or received by an attorney for Garraf” and PMC has “presented


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   no evidence even suggesting that Garraf was represented by counsel while these communications

   were occurring”. Id. at 17. As such, Graco argues that the “common-interest doctrine is inapplicable

   and any underlying privilege was waived by publishing these documents to Garraf”. Id. Citing

   Cooper Health, 259 F.R.D. at 215, Graco maintains that “this is true even if these non-attorneys were

   communicating about legal matters” because the doctrine is inapplicable when individuals exchange

   “non-privileged information at a time when they were not acting as an agent or consultant for

   different attorneys”. Id. Graco argues that PMC has “offered nothing to show that they were

   exchanging privileged information with Garraf” and have not “shown that Garraf was represented

   by counsel or that the Garraf representatives who sent or received these communications were acting

   at the direction of or as agents for any such attorneys”. Id.

                           (c)     Defendants cannot establish a common interest.

           Graco claims that “PMC cannot establish...the existence of substantially similar legal

   interests shared by the parties to communications”. Id. at 18. Graco maintains that PMC’s “core

   defense in this litigation is that Gama USA and Commette were involved in an arm’s length

   distributorship arrangement with Garraf and that they had no knowledge of or control over Garraf’s

   inner workings”. Id. Citing Sealed Air, 253 F.R.D. at 310 and Cavallaro v. United States, 153 F.

   Supp. 2d 52, 61 (D. Mass. 2001), aff’d on other grounds, 284 F.3d 236 (1st Cir. 2002), Graco notes

   that “this distinguishes the present case from Sealed Air, in which the court observed that...privileged

   information exchanged during a merger between two unaffiliated businesses would fall within the

   common-interest doctrine”, as PMC has “insisted from the outset that their dealings with Garraf were

   strictly at arm’s length and that the companies were and remain entirely separate”. Id. Assuming

   this to be the case, Graco states that “Garraf and PMC were adverse to one another in negotiations

   at the time of the communications in question” and their primary interest would have been “in


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   securing the most favorable possible terms for themselves”. Id. Citing Teleglobe, 493 F.3d at 365,

   Graco argues that while PMC and Garraf “might arguably have shared some mutual interest in the

   success of the enterprise, their interests would not have been so substantially similar as to permit

   application of the common-interest doctrine even if it were otherwise applicable”. Id.

          Graco states that “PMC’s sole argument...appears to be that at the time they were working

   with Carles Royo to found the Gama enterprise, they...shared a common interest in avoiding future

   litigation against Graco which was sufficient to shield their communications from discovery”. Id.

   at 18-19. Graco argues that the “broad-reaching scope of the common-interest privilege that PMC

   advocate[s] would render most communications among conspirators, especially those regarding the

   potential illegality of their plans, non-discoverable”. Id. at 19. Citing United States v. Kapnison,

   743 F.2d 1450, 1456 (10th Cir. 1984), cert. denied, 471 U.S. 1015 (1985), United States v. Nixon,

   418 U.S. 683 (1974), and In re Qwest Communications Intern. Inc., 450 F.3d 1179, 1185, (10th Cir.

   2006), cert. denied, 549 U.S. 1031 (2006), Graco maintains that “the common-interest privilege

   is...not intended to be used in this way” because, otherwise, “it would swallow the general rule that

   discovery is liberal and privileges must therefore be narrowly construed”. Id. Further, Graco

   contends that PMC’s argument “is further complicated by the fact that the vast majority

   of...communications in question were with Carles Royo”, an individual that “Garraf persistently

   claimed throughout this litigation...was neither an employee nor a managing agent”. Id. at 20. Graco

   argues that it “strains credulity for PMC to assert that they shared a common interest with an

   individual who allegedly was not an agent of the company against which [it was] negotiating”. Id.

          Citing Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 579 (N.D. Cal. 2007), United

   States v. Bergonzi, 216 F.R.D. 487, 495 (N.D. Cal. 2003), and Cooper Health, 259 F.R.D. at 215,

   Graco maintains that PMC “cannot prove...that the principal purpose of their communications was


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   to further a legal interest in preventing litigation” as PMC has “made no showing that

   communications between PMC and Garraf or Royo were made in the course of formulating a joint

   legal strategy”. Id at 20-21. Instead, Graco claims that these communications “appear to have been

   for the primary purpose of developing a working or business relationship” and, therefore, PMC’s

   “privilege claims...fail because they simply did not share a common interest of the sort that would

   support the assertion of privilege”. Id. at 21. Citing Cooper Health, 259 F.R.D. at 212, 214-15, and

   Teleglobe, 493, F.3d at 356-57, Graco argues that PMC “should be compelled to produce all of the

   approximately 400 documents that [it has] withheld on the basis of the common-interest doctrine or

   that cross-reference Entry No. 7” or, in the alternative, “the Court should conduct [an] in camera

   review of those documents to determine which of them are in fact privileged”. Id.

                  3.      The potential applicability of the crime-fraud exception warrant in
                          camera review.

          Graco maintains that “even if PMC could show that these communications were otherwise

   privileged, [an] in camera review is necessary to determine whether they are...discoverable under

   the crime-fraud exception”. Id. at 22. Citing In re Grand Jury Subpoena, 223 F.3d 213, 217 (3d Cir.

   2000) and Ocean Spray Cranberries, Inc. v. Holt Cargo Systems, Inc., 345 N.J. Super. 515, 522

   (Law Div. 2000), Graco states that “the crime-fraud exception applies when an attorney’s advice is

   used to aid the commission of a fraud” and is established by showing that “(1) the client was

   committing or intending to commit a fraud or crime, and (2) the attorney-client communications

   were in furtherance of that alleged crime or fraud”. Id. Graco notes that “fraud” does not necessarily

   mean “tortious or criminal fraud” and “may encompass virtually all kinds of deception and deceit

   even though they might not otherwise warrant criminal or civil sanctions” including “deception made

   in the course of litigation”. Id. Graco claims that “PMC has countered many of [its] factual

   allegations with sworn testimony and representations to the Court that later proved false”, including

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   testimony about the timing of key communications with Carles Royo and PMC’s ownership of a

   Garraf facility”, “the existence of a draft written investment agreement between PMC and Garraf”,

   and production of documents after asserting that they did not exist or that PMC had no knowledge

   regarding same. Id. at 22-23. Graco argues that “conduct of this sort suggests a concerted effort to

   misrepresent the facts and to conceal evidence that would enable Graco to discover the truth”. Id.

   at 23.

            Graco contends that it recently became “apparent that PMC [is] using privilege designations

   as part of their effort to hide the truth”. Id. Referencing a “draft investment agreement between

   PMC and Garraf” and “documents regarding business negotiations over the formation of the Gama

   enterprise”, Graco points out that in both instances PMC or its representatives initially represented

   that these documents did not exist only to acknowledge same and claim privilege thereafter. Id. at

   23-24.      As such, Graco believes that PMC’s “history of misrepresentations and

   obfuscation...suggests that [PMC] may be withholding documents as privileged that would reveal

   additional misrepresentations in depositions or to the Court that would undermine their defenses”.

   Id. at 24. Under these circumstances, Graco argues that “the crime-fraud exception warrants the

   Court’s in camera review of the documents in question”. Id. Citing Haines v. Liggett Group Inc.,

   975 F.2d 81, 96 (3d Cir. 1992) and Ocean Spray, 345 N.J. Super. at 518-21, 523-27, Graco maintains

   that an “in camera review is hardly unprecedented under the present circumstances” and that “its

   burden to establish the need for in camera review is much lower than its burden of establishing

   fraud”. Id. at 24-25. Citing Haines, 975 F.2d at 95 and Clark v. United States, 289 U.S. 1, 14

   (1933), Graco argues that “PMC’s logs confirm that [it] anticipated that [its] formation of the Gama

   enterprise and its future activities might subject them to civil liability” and, therefore, “if [an] in

   camera review reveals that PMC [was] using counsel to aid...in carrying out fraudulent or deceitful


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   business activities, that would...vitiate any privilege under the crime-fraud exception”. Id. at 25-26.

   Graco contends that “the only way to determine...whether PMC’s documents are privileged...is for

   the Court to conduct an in camera review”. Id. at 26.

                  4.      Defendants should be required to produce documents that they have
                          clawed back.

                          (a)     The March 1, 2010 clawback.

          Graco states that PMC identified three (3) documents in its March 1, 2010 clawback letter,

   all of which “related to the loan agreement”. Id. at 26. “The first is a March 4, 2009 email message

   from Richard Ulrich to Carles Royo requesting that Mr. Royo sign, date, and return several copies

   of an amendment to a loan agreement”. Id. at 26-27. Graco notes that “Mr. Ulrich’s signature line

   indicates that he works in a...business consultancy” and that “the message is copied to

   representatives of several other companies”. Id. at 27. Graco states that “the other two documents

   reflect nothing more than Mr. Royo’s non-substantive response to Mr. Ulrich’s message”. Id. Graco

   maintains that PMC’s privilege log “designates these documents as within the attorney-client

   privilege and the common-interest doctrine, ...[describing] them as follows: Post-litigation discussion

   re relationship in light of attendant litigation risks”. Id. Graco argues that these documents are not

   privileged bases upon the fact that “neither the sender nor any of the recipients is an attorney” and

   that “even if they were, nothing about these communications suggests that they were made for the

   purpose of obtaining legal advice or prepared in connection with litigation”. Id. Graco contends that

   “the common-interest doctrine cannot apply” because “these communications are not privileged”,

   and, therefore, “there was no basis for PMC to claw back these documents”. Id.

                          (b)     The June 30, 2010 clawback.

          Graco states that PMC’s June 30, 2010 clawback letter relates to “the investment agreement

   between PMC and Garraf and the loan to Garraf that PMC facilitated” and claims that “these

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   documents do not fall within Paragraph 8 of the Protective Order for at least three reasons”. Id. at

   28. First, Graco argues that these documents “are not privileged” because they “are purely business

   related” and, even if they were privileged, “that privilege was waived because these documents

   include Garraf representatives who PMC [insists is a] third party”. Id. Graco maintains that “the

   common-interest doctrine does not provide an exception to this waiver because these

   communications do not include counsel for Garraf”. Id. Second, Graco argues that PMC “cannot

   show that these documents were inadvertently produced as required by Paragraph 8 of the Protective

   Order”, as PMC “produced these documents...in response to Graco’s repeated demands” and after

   PMC’s counsel advised that “PMC would produce an Investment Agreement draft”. Id. Graco

   maintains that “since the production was pre-planned and intentional, it cannot be considered

   inadvertent”. Id. Third, Graco argues that PMC “did not comply with Paragraph 8’s requirement

   that [it] promptly notify Graco of the allegedly inadvertent production” but rather, waited until

   “almost two months after Graco had relied on two of these documents in opposition to PMC’s

   motions for summary judgment and more than one month after Graco introduced another of these

   documents during the May 20 deposition of Tina Toy”. Id. at 28-29. Graco notes that PMC

   “reproduced the two documents cited in Graco’s summary judgment opposition briefs and the

   document introduced at Ms. Toy’s deposition” under FED . R. CIV . P. 502(b), but has “refused to

   reproduce the remaining two documents [it] clawed back on June 30”. Id. at 29. Graco argues that

   “Rule 502(b) is inapplicable” because “these documents are not privileged”, their “production was

   not inadvertent”, and PMC “did not take reasonably prompt measures to rectify their allegedly

   inadvertent production”. Id.

          B.      PMC’s Arguments in Opposition to the Motion to Compel

                  1.      Communications seeking or providing legal advice in connection with
                          business transactions are privileged.

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          Citing La. Mun. Police Employees Ret. Sys. v. Sealed Air Corp., 253 F.R.D. 300, 306-08, 311

   (D.N.J. 2008), PMC maintains that “attorney-client communications must be for the purpose of

   seeking legal advice” and those “communications seeking or providing legal advice in the context

   of ordinary business transactions also merit protection”. See Def’s Opp’n Br. at 5. PMC argues that

   “the draft investment agreement between Garraf and PMC...is precisely such a communication” and

   that same was “clawed back...because it was inadvertently produced and...falls within the protection

   of the common interest privilege”. Id. at 5-6. PMC contends that it has not “waived any applicable

   privilege through disclosure to third parties” as it is “entitled to disclose communications to those

   of its former employees whom they have retained as consultants...so long as the communication is

   in furtherance of the legal representation”. Id. at 6. Further, PMC claims that communications

   between “PMC’s in-house counsel and outside tax attorneys and consultants seeking and providing

   legal advice” are “equally protected”. Id.

          PMC maintains that “Graco claims that PMC [has] withheld numerous documents that have

   no connection to anticipated or ongoing litigation...but...cities only one example: Entry No. 356 and

   its attachment on the July 20, 2010 privilege log”. Id. Citing Muller v. Walt Disney Productions,

   871 F. Supp. 678, 682 (S.D.N.Y. 1994) and Sealed Air, 253 F.R.D. at 308, PMC argues that “Entry

   No. 356 is a draft employment contract...[that is] unequivocally protected by the attorney-client

   privilege”. Id. Further, PMC contends that “the entries cited by Graco are protected by attorney-

   client privilege...whether or not the document was work product created in anticipation of litigation”

   even if “the advice involved ancillary business communications”. Id. at 6-7.

          PMC notes that the “Defendants claiming pre-litigation work-product protection are

   California-based entities who were seeking legal advice under the protection of California privilege

   law years before the instant litigation was filed”. Id. at 7. Citing Hynix Semiconductor Inc. v.


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   Rambus, 591 F. Supp. 2d 1038, 1064-65 (N.D. Ca. 2006) and Sealed Air, 253 F.R.D. at 311, PMC

   maintains that “Graco’s legal argument that the work-product doctrine only applies in anticipation

   or for trial is fatally flawed because that is not the standard under California privilege law” which

   “protects a lawyer’s work product prepared in a non-litigation capacity” and “is not limited to

   writings created by a lawyer in anticipation of a lawsuit”. Id. Citing Sealed Air, 253 F.R.D. at 311,

   PMC also argues that “Graco fails to meet its burden of proving that PMC waived work-product

   protection by disclosing information to an adversary...[because it] has not even attempted to identify

   such a disclosure or such an adversary”. Id. at 7-8.

                  2.      In their communications with Royo and Moreno, PMC had a common
                          interest in ensuring that any potential business arrangements would
                          avoid litigation.

          Initially, PMC admits withholding “pre-lawsuit communications by and among PMC, its

   counsel, and its agents and employees, and some communications with Garraf’s alleged principals,

   Royo and Moreno”. Id. at 8. However, PMC maintains that it has “only withheld communications

   and documents arising out of [its] common interest in avoiding litigation in the exploration and

   cultivation of a working relationship based on legal advice provided to PMC”. Id. PMC claims that

   the “withheld communications arise out of and relate directly to legal advice provided to PMC by

   its outside counsel on November 21, 2006 in the Garraf Memo (“Garraf Memo”) and are specifically

   identified on PMC’s privilege log”. Id. PMC notes that the Garraf Memo “contained directions,

   advice, and analysis concerning possible working relationships between PMC and Garraf”, that the

   parties “engaged in discussions based on that advice” but ultimately “entered into a pure buy-sell

   supplier-distributor relationship”, and that “Graco offers...no evidence to the contrary”. Id.

          PMC points out that rather than “engaging the pre-litigation common-interest claims on the

   merits, Graco instead points to post-lawsuit communications between PMC and fellow Defendants


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   as if these documents evidence a business rather than a legal purpose”. Id. Citing Teleglobe

   Comm’n Corp. v. BCE Inc., 493 F.3d 345, 363 (3d Cir. 2007), PMC argues that its “post-lawsuit

   communications with fellow Defendants seeking to avoid any liability in future dealings are clearly

   protected, if not by the common interest doctrine, then by the joint-defense agreement between

   Garraf and PMC”. Id. at 8-9. Citing Teleglobe, 493 F.3d at 363, Ramada Inns, Inc. v. Dow Jones

   & Co., 523 A.2d 968, 972 (Del. Super. Ct. 1986), LaPorta v. Gloucester County Bd. of Chosen

   Freeholders, 340 N.J. Super. 254, 262 (2001), and U.S. v. Schwimmer, 892 F.2d 237, 244 (2d Cir.

   1989), PMC argues that Graco’s contention – based upon an interpretation of the common interest

   privilege under Delaware privilege law – that “the common interest doctrine does not apply to

   communications between an attorney for one party and a representative of another” is misplaced

   because New Jersey law “holds that...communications between counsel for a party and an individual

   representative of a party with a common interest are...protected”. Id. at 9. As such, PMC claims that

   communications between PMC’s counsel and “Messrs. Royo or Moreno” are protected, “Delaware

   law notwithstanding”. Id.

          PMC argues that Graco’s citation of Cooper Health Systems v. Virtua Health, 259 F.R.D.

   208, 214 (D.N.J. 2009) is misplaced as that case “involved two non-lawyers trying to coordinate their

   own idea of a legal strategy without any input or direction from counsel” while here, “PMC has

   identified the specific legal instructions (the Garraf Memo) that guided the withheld

   communications”. Id. at 9-10. Further, citing Andritz Sprout-Bauer v. Beazer East, 174 F.R.D. 609,

   633 (M.D. Pa. 1997), Cellco Partnership v. Certain Underwriters at Lloyd’s London, 2006 U.S.

   Dist. LEXIS 28877 (D.N.J. 2006), and Sealed Air, 253 F.R.D. at 311, PMC maintains that “as a

   general principle, confidential communications among parties retain their privilege even if an

   attorney is not included on the communication” and that as such, Graco is unable to meet its “burden


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   of proving that Royo and Moreno can be considered adversaries in the context of the communication

   such that the disclosure would waive the work product protection”. Id. at 10. PMC argues that it

   “had a valid common interest with Messrs. Royo and Moreno in structuring any potential business

   dealings in a way that would avoid litigation” and the fact that “they were on opposite sides of the

   negotiating table does not somehow invalidate their shared interest vis-a-vis a third party like

   Graco”. Id. Citing Sealed Air, 253 F.R.D. at 310-11, PMC states that “where two parties exploring

   a potential business deal wish to avoid potential litigation, the common interest privilege applies”.

   Id. at 10-11.

                   3.     The crime-fraud exception does not apply and Graco has failed to meet
                          its burden of proving otherwise.

          In opposition to Graco’s assertions, PMC states that “there was and is no conspiracy” but,

   rather, “just a group of former employees and industry players who had the temerity to compete with

   Graco”. Id. at 11. Citing U.S. v. Doe, 429 F.3d 450, 454 (3d Cir. 2005), Haines v. Liggett Group

   Inc., 975 F.2d 81, 95-96 (3d Cir. 1992), and In re Grand Jury Subpoena, 223 F.3d 213, 217 (3d Cir.

   2000), PMC maintains that “the party seeking to invoke the crime-fraud exception bears the burden

   of presenting evidence which, if believed by the fact-finder, would be sufficient to support a finding

   that the elements of the crime-fraud exception were met” where the elements are “(1) the client was

   committing or intending to commit a fraud or crime, and (2) the attorney-client communications

   were in furtherance of that alleged crime or fraud”. Id. PMC argues that the crime-fraud exception

   “does not apply where a client seeks legal advice in order to conform its conduct with the law and

   to avoid litigation altogether”. Id. Citing In re Richard Roe, Inc., 68 F.3d 38, 40 (2d Cir. 1995) and

   In re Grand Jury Subpoenas, 798 F.2d 32, 34 (2d Cir. 1986), PMC argues that “the evidentiary

   burden on a party seeking to establish the crime-fraud exception is high and requires a detailed

   showing based on specific documents or other evidence that the client intends to commit a crime or

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   fraud”. Id. at 11-12.

                           (a)     Graco has failed to offer evidence that Gama or PMC committed
                                   or intended to commit a fraud or crime.

           Citing In re Grand Jury Subpoena, 223 F.3d 213, 217 (3d Cir. 2000), PMC maintains that

   Graco “has failed to meet its burden” that any of the Defendants “intended to commit a crime or

   fraud”. Id. at 12. Based upon the fact that “the Court already has held that PMC was free to go into

   business against Graco”, PMC contends that the Court has already “affirmatively negated the alleged

   crime” that Graco asserts by way of this Motion. Id. PMC argues that the “allegedly false

   testimony” cited by Graco at worst “reflects the inability of...PMC executives to remember particular

   documents or details during depositions years after the fact”. Id. Citing Johnson Electric N. Am.,

   Inc. v. Mabuchi N. Am. Corp., 1996 WL 191590, at *6 (S.D.N.Y. 1996) and Jinks-Umstead v.

   England, 233 F.R.D. 49, 51 (D.D.C. 2006), PMC argues that the fact that it produced “documents

   allegedly inconsistent with prior testimony...shows PMC’s good faith in discovery” but “does not

   remotely establish the existence of a crime or fraud sufficient to justify piercing the attorney-client

   privilege” absent “prima facie evidence of a cover-up”. Id. at 12-13. PMC notes that Graco “fails

   to tie any...alleged false statements to any specific attorney-client communication that it seeks to

   obtain” and, therefore, “has...failed to offer any evidence that PMC made [any alleged false

   statements] with the requisite intent”. Id. at 13. Further, PMC maintains that Graco’s argument that

   “the exception should apply because...PMC has unjustifiably withheld some documents as

   privileged” should fail because “a discovery dispute is not a crime nor a fraud” and Graco fails to

   cite “any precedent for its novel interpretation of the crime-fraud exception”. Id. Finally, PMC

   points out that “the only privilege log entry that Graco mentions specifically is Entry No. 7” – the

   “Garraf Memo from the Spanish office of the international law firm DLA Piper to PMC in

   California...[which] reflects a client (PMC) seeking legal advice to avoid litigation, not to perpetrate

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   a crime or fraud”. Id. 13-14. Citing U.S. v. Doe, 429 F.3d 450, 454 (3d Cir. 2005), PMC argues that

   the Garraf Memo is an example “of what the attorney-client privilege should protect and what the

   crime-fraud exception should not touch” based, in part, on the fact that “courts on both continents

   already...concluded” that “PMC and Garraf could legitimately go into business together”. Id. at 14.

                          (b)     Graco has failed to offer evidence that the communications were
                                  in furtherance of a purported fraud or crime.

          PMC maintains that Graco “has not satisfied” the second element of the crime-fraud

   exception as Graco “does not even attempt to tie any alleged fraud or crime to a communication that

   it seeks to have excepted from the attorney-client privilege” and “has failed to identify specific

   communications at all”. Id. at 14. Citing Charles A. Wright, et al., Federal Practice & Procedure,

   § 5501 & n. 200, PMC argues that Graco’s citation of Ocean Spray Cranberries, Inc. v. Holt Cargo

   Systems, Inc., 345 N.J. Super. 515, 522 (2000) is misplaced as that “case suggests a crime-fraud

   exception that is broader than other courts and the New Jersey statute allow”. Id. Further, PMC

   argues that Ocean Spray is “readily distinguishable” because in that case, “plaintiffs’ suspicion was

   confirmed by counsel’s concession and revelation that the ‘Dice’ memo contain[ed] evidence of

   fabrication of discovery and cover up of facts”. Id. at 14-15. PMC contends that Graco “has not”,

   and “cannot”, provide similar evidence in this case. Id. at 15.

   III.   DISCUSSION

          A.      Legal Standards

                  1.      Applicable Law

          Pursuant to FED . R. EVID . 501,

                  Except as otherwise required by the Constitution of the United States
                  or provided by Act of Congress or in rules prescribed by the Supreme
                  Court pursuant to statutory authority, the privilege of a witness,
                  person, government, State, or political subdivision thereof shall be
                  governed by the principles of the common law as they may be

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                  interpreted by the courts of the United States in the light of reason
                  and experience. However, in civil actions and proceedings, with
                  respect to an element of a claim or defense as to which State law
                  supplies the rule of decision, the privilege of a witness, person,
                  government, State, or political subdivision thereof shall be
                  determined in accordance with State law.

   Thus, “under this rule, in federal question cases the federal common law of privileges applies...[and]

   where state law provides the rule of decision, ...state privilege law will govern”. Wm. T. Thompson

   Co. v. General Nutrition Corp., 671 F.2d 100, 103 (3d Cir. 1982). However, it is obvious that

   “applying two separate disclosure rules with respect to different claims tried to the same jury would

   be unworkable” and “one rule or the other must govern”. Id. at 104. “When there are federal law

   claims in a case also presenting state law claims, the federal rule favoring admissibility, rather than

   any state law privilege, is the controlling rule”. Id.

                  2.      Discovery

          Pursuant to FED . R. CIV . P. 26(b)(1), “parties may obtain discovery regarding any

   nonprivileged matter that is relevant to any party’s claim or defense” and “the court may order

   discovery of any matter relevant to the subject matter involved in the action”, although “relevant

   information need not be admissible at trial if the discovery appears reasonably calculated to lead to

   the discovery of admissible evidence”. Courts refuse to order discovery if the information being

   sought is (1) irrelevant to the claim or (2) protected by a recognized privilege. See also Pearson v.

   Miller, 211 F.3d 57, 65 (3d Cir. 2000). The precise boundaries of the Rule 26 relevance standard

   depend upon the context of each particular action, and the determination of relevance is within the

   discretion of the District Court. See Barnes Found. v. Twp. of Lower Merion, 1996 WL 653114, at

   *1 (E.D. Pa. 1996).

                  3.      Attorney-Client Privilege

          FED . R. EVID . 501 provides that evidentiary privileges are “governed by the principles of the

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   common law as they may be interpreted by the courts of the United States in light of reason and

   experience”. Thus, Third Circuit precedent controls with respect to procedural questions such as the

   assertion of the attorney-client privilege. The attorney client privilege applies as follows:

                  (1) the asserted holder . . . is or sought to become a client;

                  (2) the person to whom the communication was made (a) is a member
                  of a bar of a court . . . and (b) in connection with this communication
                  is acting as a lawyer;

                  (3) the communication relates to a fact of which the attorney was
                  informed (a) by his client (b) without the presence of strangers (c) for
                  the purpose of securing primarily either (i) an opinion on law or (ii)
                  legal services or (iii) assistance in some legal proceeding, . . .; and

                  (4) the privilege has been (a) claimed and (b) not waived by the
                  client.

   In re Grand Jury Investigation, 599 F.2d 1224, 1233 (3d Cir. 1979) (quoting United States v. United

   Shoe Machinery Corp., 80 F. Supp. 357, 358-59 (D. Mass. 1950)); see also La. Mun. Police Emples.

   Ret. Sys. v. Sealed Air Corp., 253 F.R.D. 300, 305 (D.N.J. 2008).

          Communications between an attorney and client are protected by the attorney-client privilege

   with the purpose of this privilege being to promote frank discussions between attorneys and their

   clients. Upjohn v. United States, 449 U.S. 383, 389 (1981); see also Fisher v. United States, 425

   U.S. 391, 403 (1976). “Courts should be cautious in their application of the privilege, mindful that

   ‘it protects only those disclosures necessary to obtain informed legal advice which might not have

   been made absent the privilege’”. Sealed Air Corp., 253 F.R.D. at 305 (quoting Fisher, 425 U.S.

   at 403). The facts underlying any given communication remain discoverable, no matter the

   circumstance. Id. at 305; see also Upjohn, 449 U.S. at 395-96. The attorney-client privilege can be

   waived if privileged information is communicated to outside parties. U.S. v. Rockwell International,

   897 F.2d 1255, 1265 (3d Cir. 1990). Further, because the privilege may be employed to obstruct the


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   search for truth, the it is not absolute and care must be taken to insure that it is not abused. United

   Jersey Bank v. Wolosoff, 196 N.J. Super 553, 561-62 (App. Div. 1984).

           Importantly, the “party asserting the attorney-client privilege bears the burden to show that

   it applies”. Sealed Air Corp., 253 F.R.D. at 305; see also In re Grand Jury Empaneled Feb. 14,

   1978, 603 F.2d 469, 474 (3d Cir. 1979); Glaxo, Inc. v. Novopharm, Ltd., 148 F.R.D. 535, 538

   (E.D.N.C. 1993); Fischer v. United States, 425 U.S. 391 (1976). The party resisting disclosure must

   state its privilege claim expressly by “describ[ing] the nature of the documents, communications, or

   things not produced.” FED . R. CIV . P. 26(b)(5). Failure to identify with specificity the recipients

   of the information alleged to be privileged does not necessarily void the assertion of the privilege.

   However, such failure requires enhanced scrutiny to ensure that the privilege was not waived by

   disseminating the information to those who did not require access to it. See Smithkline Beecham

   Corp. v. Apotex Corp., 232 F.R.D. 467, 476 (E.D. Pa. 2005).

           The attorney-client privilege extends to corporations but its administration presents special

   problems. Sealed Air Corp., 253 F.R.D. at 305; see also In re Bevill, Bresler & Schulman Asset

   Mgmt. Corp., 805 F.2d 120, 124 (3d Cir. 1986); Commodity Futures Trading Comm’n v. Weintraub,

   471 U.S. 343, 348 (1985); Wolosoff, 196 N.J. Super at 562; Macey v. Rollins Environmental

   Services, 179 N.J. Super 535, 540 (App. Div. 1981). The “necessity for full and open disclosure

   between corporate employees and in-house counsel...demands that all confidential communications

   be exempt from discovery.” Wolosoff, 196 N.J. Super at 562. However, the privilege is limited to

   “confidential communications made within the context of the strict relation of attorney and client.”

   Id. “Communications which relate to business rather than legal matters do not fall within the

   protection of the privilege” (Leonen v. Johns-Mansville, 135 F.R.D. 94, 98 (D.N.J. 1990)), and,

   therefore, “the general rule is ‘while legal advice given to a client by an attorney is protected by the


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   privilege, business advice generally is not’” (Sealed Air Corp., 253 F.R.D. at 305 (quoting In re Nat’l

   Smelting of New Jersey, Inc. Bondholders’ Litig., 1989 U.S. Dist. LEXIS 16962, at *18 (D.N.J.

   1989)). See also Coleman v. Am. Broad Co., 106 F.R.D. 201, 205 (D.D.C. 1985); Claude P.

   Bamberger Int’l Inc. v. Rohm & Haas Co., 1997 WL 33786546, at *2 (D.N.J. 1997); United States

   v. Davis, 636 F.2d 1028, 1044 (5th Cir. 1978).

          Given that “legal advice is often intimately intertwined with and difficult to distinguish from

   business advice” (Sealed Air Corp., 253 F.R.D. at 306 (citing Leonen, 135 F.R.D. at 88-89); see also

   Sedco Int’l SA v. Cory, 683 F.2d 1201, 1205 (8th Cir. 1982)), and “because it is often too difficult,

   impractical and unrealistic to compartmentalize whether certain advice given to a client is legal in

   nature or business in nature in the context of a complicated....transaction” (Sealed Air Corp., 253

   F.R.D. at 306), “the policy behind the attorney-client privilege is best upheld where the attorney-

   client relationship is predominantly for the purpose of rendering legal services” (Sealed Air Corp.,

   253 F.R.D. at 306 (citing In re Nat’l Smelting, 1989 U.S. Dist. LEXIS 16962, at *21-22)).

   Specifically, “the proper inquiry is focused on whether the communication is designed to meet

   problems which can fairly be characterized as predominantly legal” (Sealed Air Corp., 253 F.R.D.

   at 306 (citing Leonen, 135 F.R.D. at 99); see also Bamberger, 1997 WL 33768546, at *2) and the

   party claiming privilege “should demonstrate that the communication would not have been made but

   for the client’s need for legal advice or services” (Sealed Air Corp., 253 F.R.D. at 306 (citing

   Leonen, 135 F.R.D. at 99)).

          Generally, when a party discloses privileged information to a third party, the privilege is

   extinguished, and the document is discoverable. See In re Teleglobe Commc’n Corp., 493 F.3d 345,

   364 (3d Cir. 2007). “Although voluntary disclosure of attorney-client communications to a third-

   party ordinarily waives the privilege, the privilege will not be waived if the disclosure was to an

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   agent whose services are necessary for effective representation of the client’s interests”. Sealed Air

   Corp., 253 F.R.D. at 311; see also Cellco P’ship v. Certain Underwriters of Lloyd’s London, 2006

   U.S. Dist. LEXIS 28877 (2006). Importantly, “the party claiming a third-party as an agent bears the

   burden to show the privilege has not been waived”. Id. The asserting party must demonstrate that

   “the third party’s involvement must be necessary to the lawyer’s provision of legal advice”, meaning

   “the agent must evaluate the information and in a sense translate it into understandable terms for the

   non-expert attorney”. Id. at 312. Further, “the communications between an attorney and a third-

   party are not protected from disclosure simply because the communications later become beneficial

   to the representation of the client”. Id.

                   4.      Work-Product Privilege

           A party may not ordinarily “discover documents and tangible things that are prepared in

   anticipation of litigation or for trial by or for another party or its representative (including the other

   party’s attorney, consultant, surety, indemnitor, insurer, or agent)” absent a showing by the

   requesting party of “substantial need for the materials to prepare its case” and an inability, “without

   undue hardship, [to] obtain their substantial equivalent by other means”. FED . R. CIV. P. 26(b)(3)(A).

   “If the court orders discovery of those materials, it must protect against disclosure of the mental

   impressions, conclusions, opinions, or legal theories of a party’s attorney or other representative

   concerning the litigation”. FED . R. CIV . P. 26(b)(3)(B); see also Quinn Construction, Inc. v. Skanska

   USA Building, Inc., 263 F.R.D. 190, 193 (E.D. Pa. 2009). “The work product doctrine is governed

   by a uniform federal standard set forth in FED . R. CIV . P. 26(b)(3) and ‘shelters the mental processes

   of the attorney, providing a privileged area within which he can analyze and prepare his client’s

   case.’” In re Cendant Corp. Securities Litig., 343 F.3d 658, 661-62 (3d Cir. 2003)(quoting United

   States v. Nobles, 422 U.S. 225, 238 (1975)). The Supreme Court articulated the essential nature of

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   the doctrine in Hickman v. Taylor, 329 U.S. 495, 510-11 (1947): “In performing his various duties,

   it is essential that a lawyer work with a certain degree of privacy, free from unnecessary intrusion

   by opposing parties and their counsel. ...This work is reflected, of course, in interviews, statements,

   memoranda, correspondences, briefs, mental impressions, personal belief, and countless other

   tangible and intangible ways.” Importantly, “waiver of work-product protection occurs only when

   a disclosure enables an adversary to gain access to the information” and the “burden of establishing

   waiver of the work-product doctrine falls...on the party seeking to establish waiver”. Sealed Air, 253

   F.RD. at 311; see also Westinghouse Elec. Corp. v. Republic of Phil., 951 F.2d 1414, 1428 (3d Cir.

   1991); Maldonado v. New Jersey, 225 F.R.D. 120, 131-32 (D.N.J. 2004).

           The work product doctrine is not an absolute bar to discovery of materials prepared in

   anticipation of litigation. “Work product can be produced upon a showing that the party seeking

   discovery has substantial need of the materials in the preparation of the party’s case and that the party

   is unable without undue hardship to obtain the substantial equivalent of the materials by other

   means.” In re Cendant, 343 F.3d at 663. Even if the party seeking discovery of information

   otherwise protected by the work product doctrine has made the requisite showing, “courts must still

   protect against the disclosure of mental impressions, conclusions, opinions, or legal theories of an

   attorney and his agents.” Id. Thus, there are “two tiers of protection: first, work prepared in

   anticipation of litigation by an attorney or his agent is discoverable only upon a showing of need and

   hardship; second, ‘core’ or ‘opinion’ work product that encompasses the ‘mental impressions,

   conclusions, opinion, or legal theories of an attorney or other representative of a party concerning

   the litigation’ is ‘generally afforded near absolute protection from discovery’ and requires a

   heightened showing of extraordinary circumstances”. Id. at 663-64; see also In re Ford Motor Co.,

   110 F.3d 954, 962 n.7 (3d Cir. 1997); Sporck v. Peil, 759 F.2d 312, 316 (3d Cir. 1985).

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           Importantly, “the party asserting work product protection bears the burden to show the

   doctrine applies”. Sealed Air, 253 F.R.D. at 306; see also Conoco, Ins. v. U.S. Dep’t of Justice, 687

   F.2d 724, 730 (3d Cir. 1982). The Third Circuit has adopted a “two part test for ascertaining

   whether the documents or things at issue should be protected under the work-product doctrine”. Id.;

   see also In re Gabapentin Patent Litig., 214 F.R.D. 178, 183 (D.N.J. 2003); Muse-Freeman v.

   Bhatti, 2008 WL 2165147, at *1 (D.N.J. 2008); Paris v. R.P. Scherer Corp., 2006 WL 1982876, at

   *2 (D.N.J. 2006). The first inquiry is “the reasonable anticipation test, which requires that the court

   determine whether litigation could reasonably have been anticipated...[with the] relevant inquiry

   [being] whether in light of the nature of the document and the factual situation in the particular case,

   the document can fairly be said to have been prepared or obtained because of the prospect of

   litigation”. Id.; see also In re Gabapentin, 214 F.R.D. at 183; Maertin v. Armstrong World Indus.,

   172 F.R.D. 143, 148 (D.N.J. 1997); Martin v. Bally’s Park Place Hotel & Casino, 983 F.2d 1252,

   1258 (3d Cir. 1993); Rockwell Int’l, 897 F.2d at 1266. “Although the litigation need not be

   imminent, there must be an identifiable specific claim of impending litigation”. Id.; see also

   Rockwell Int’l, 897 F.2d at 1266; Maertin, 172 F.R.D. at 148; Leonen, 135 F.R.D. at 97. The second

   inquiry “is whether the documents were prepared primarly for the purpose of litigation, ...as

   documents prepared for other purposes that prove useful in subsequent litigation are not attorney

   work-product”. Id. at 307; see also Paris, 2006 WL 1982876, at *2; In re Gabapentin, 214 F.R.D.

   at 184. “Documents created in the ordinary course of business, even if useful in subsequent

   litigation, are not protected by the work-product doctrine”. Id.; see also Rockwell Int’l, 897 F.2d at

   1265-66. Thus, “even where the reasonable anticipation of litigation is established, whether the

   document comes within the purview of the work-product doctrine still depends primarily on the

   reason or purpose for the document’s production”. Id.; In re Gabapentin, 214 F.R.D. at 184.

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                  5.      Crime-Fraud Exception to Privilege

          “The attorney-client privilege must necessarily protect the confidences of wrongdoers, but

   the reason for that protection – the centrality of open client and attorney communication to the proper

   functioning of our adversary system of justice – ceases to operate at a certain point, namely, where

   the desired advice refers not to prior wrongdoing, but to future wrongdoing”. In re Grand Jury

   Subpoena, 223 F.3d 213, 217 (3d Cir. 2000) (citing United States v. Zolin, 491 U.S. 554, 562-63

   (1989). “It is the purpose of the crime-fraud exception to the attorney-client privilege to assure that

   the seal of secrecy between lawyer and client does not extend to communications made for the

   purpose of getting advice for the commission of a fraud or crime”. Id.; see also Zolin, 491 U.S. at

   562-63. The crime-fraud exception “applies only when the legal advice gives direction for the

   commission of future fraud or crime”. Id. (citing Haines v. Liggett Group, Inc., 975 F.2d 81, 90 (3d

   Cir. 1992). In order to invoke the exception, a party “must make a prima facie showing that (1) the

   client was committing or intending to commit a fraud or crime and (2) the attorney-client

   communications were in furtherance of that alleged crime or fraud”.Id.; see also In re Grand Jury

   Investigation, 842 F.2d 1223, 1226 (11th Cir. 1987); United States v. Horvath, 731 F.2d 557, 562

   (8th Cir. 1984). Such a prima facie showing “requires presentation of evidence which, if believed

   by the factfinder, would be sufficient to support a finding that the elements of the crime-fraud

   exception were met”. Id.; see also Haines, 975 F.2d at 95-96; United States v. Doe, 429 F.3d 450,

   454 (3d Cir. 2005). “Where...the attorney-client privilege and the work product immunity

   substantially overlap...[there is] no reason to apply a different standard for attorney work product”.

    United States v. Richard Roe, Inc., 68 F.3d 38, 40-41 n.2 (2d Cir. 1995); see also In re Grand Jury

   Proceedings, 604 F.2d 798, 803 (3d Cir. 1979).

          “The crime-fraud exception does not apply simply because privileged communications would

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   provide an adversary with evidence of a crime or fraud” but, rather, “only applies when the court

   determines that the client communications or attorney work product was itself in furtherance of the

   crime or fraud”. Roe, 68 F.3d at 40; see also In re Grand Jury Subpoenas Duces Tecum, 798 F.2d

   32, 34 (2d Cir. 1986). Further, “the crime-fraud exception applies only where there is probable cause

   to believe that the particular communication with counsel or attorney work product was intended in

   some way to facilitate or conceal the criminal activity”. Roe, 68 F.3d at 40; see also United States

   v. White, 887 F.2d 267, 271 (D.C. Cir. 1989). A “simple finding of relevance does not demonstrate

   a criminal or fraudulent purpose”. Roe, 68 F.3d at 40-41. Rather, “only when a client knowingly

   seeks legal counsel to further a continuing or future crime does the crime-fraud exception apply”.

   Doe, 429 F.3d at 454.

          “The decision to engage in in camera review implicates a much more lenient standard of

   proof than the determination to apply the crime/fraud exception, as the intrusion on the asserted

   privilege is minimal”. Haines, 975 F.2d at 96. “Before engaging in in camera review to determine

   the applicability of the crime-fraud exception, the judge should require a showing of a factual basis

   adequate to support a good faith belief by a reasonable person that in camera review of the materials

   may reveal evidence to establish the claim that the crime-fraud exception applies”. Haines, 975 F.2d

   at 96; see also Zolin, 491 U.S. at 572. Once such a showing is made, “the decision whether to

   engage in in camera review rests in the sounds discretion of the district court”. Haines, 975 F.2d

   at 96; see also Zolin, 491 U.S. at 572.

                  6.       Common-Interest Doctrine

          The common-interest privilege, also known as the community-of-interest privilege, “allows

   attorneys representing different clients with similar legal interests to share information without

   having to disclose it to others [and] it applies in civil and criminal litigation...and even in purely


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   transactional contexts”. Teleglobe, 493 F.3d at 364; see also Sealed Air, 253 F.R.D. at 309. “The

   requirement that the clients’ separate attorneys share information (and not the client themselves)

   derives from the community-of-interest privilege’s roots in the old joint-defense privilege...[and]

   helps prevent abuse by ensuring that the common-interest privilege only supplants the disclosure rule

   when attorneys, not clients, decide to share information in order to coordinate their legal strategies”.

   Id. at 364-65. Similarly, “the congruence-of-legal-interests requirement ensures that the privilege

   is not misused to permit unnecessary information sharing”.          Id. at 365. “Parties asserting this

   privilege...bear the burden of proving it applies”. Id. at 365 n.2.

           The common-interest doctrine “protects communications made between attorneys when all

   members of the community share a common legal interest in the shared communication”. Sealed

   Air, 253 F.R.D. at 309; see also Teleglobe, 493 F.3d at 364; Cooper Health System v. Virtua Health,

   Inc., 259 F.R.D. 208, 213 (D.N.J. 2009). “Although the most common statement of the degree of

   interest required is that the interest be identical, not similar, and be legal, not solely commercial, the

   Third Circuit has not specifically adopted such a stringent approach...[and has, instead,] noted that

   members of a community of interest must share at least a substantially similar legal interest”. Id. at

   309-10; see also Teleglobe, 493 F.3d at 365; Duplan Corp. v. Deering Milliken, Inc., 397 F. Supp.

   1146, 1172 (D.S.C. 1975); Andritz Sprout-Bauer, Inc. v. Beazer East, Inc., 174 F.R.D. 609, 634

   (M.D. Pa. 1997). Thus, “the fact that...parties [may be] on adverse sides of a business deal...does

   not compel the conclusion that the parties did not share a common legal interest”, such as when the

   parties may face “the possibility of joint litigation in which they would share a common interest”.

   Id. at 310; see also Hewlett-Packard Co. v. Bausch & Lomb, Inc., 115 F.R.D. 308, 310-12 (N.D. Cal.

   1987). Although some courts have chosen not to adopt the same reasoning, “the weight of case law

   suggests that...privileged information exchanged during a merger between two unaffiliated


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   businesses would fall within the common-interest doctrine”.        Id.; see also Cavallaro v. United

   States, 153 F. Supp. 2d 52, 61 (D. Mass. 2001), aff’d on other grounds, 284 F.3d 236 (1st Cir. 2002);

   Rayman v. Am. Charter Fed. Sav. & Loan Ass’n, 148 F.R.D. 647, 655 (D. Neb. 1993).

          Importantly, the common-interest doctrine is only applicable “if an underlying privilege has

   been established”. Id. at 309; see also Andritz Sprout-Bauer,174 F.R.D. at 634; Cooper Health, 259

   F.R.D. at 213. Further, the common-interest doctrine “only applies when clients are represented by

   separate counsel” and is not identical to the “co-client” situation, which is to say that “in the

   community-of-interest context...courts can afford to relax the degree to which clients’ interests must

   converge without worrying that their attorneys’ ability to represent them zealously and single-

   mindedly will suffer” because the clients have separate attorneys. Teleglobe, 493 F.3d at 365-66.

          The Court notes that in LaPorta v. Gloucester County Bd. of Chosen Freeholders, 340 N.J.

   Super. 254, 262 (App. Div. 2001), the New Jersey Appellate Division, citing United States v.

   Schwimmer, 892 F.2d 237, 244 (2d Cir. 1989), cert. denied, 502 U.S. 810 (1991), held that

   “communications need not only be among counsel for the clients” as “communications between

   counsel for a party and an individual representative of a party with a common interest are also

   protected” under the common interest doctrine.         Further, LaPorta also set forth three (3)

   requirements in order for the common interest doctrine to be asserted: “(1) the disclosure is made

   due to actual or anticipated litigation; (2) for the purposes of furthering a common interest; and (3)

   the disclosure is made in a manner not inconsistent with maintaining confidentiality against adverse

   parties”. LaPorta, 340 N.J. Super. at 262.

                  7.      Joint-Client Privilege

          The joint-client privilege may only be invoked when “multiple clients engage one or more

   common attorneys to represent them on a matter of interest to all”. Id. at 362. “Whether individuals


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   have jointly consulted a lawyer or have merely entered concurrent but separate representations is

   determined by the understanding of the parties and the lawyer in light of the circumstances” and must

   be “distinguished from situations in which a lawyer represents a single client but another person with

   allied interests cooperates with the client and the client’s lawyer”. Id.; see also Restatement (Third)

   of the Law Governing Lawyers § 75 comment C. A co-client representation continues “until a client

   discharges the lawyer, ...the lawyer withdraws, ...[or the] relationship terminates by implication” due

   to circumstances readily apparent to all joint clients that their “legal interests have diverged too much

   to justify using common attorneys”. Id.; see also Restatement (Third) of the Law Governing

   Lawyers § 31; Fed. Deposit Ins. Corp. v. Ogden Corp., 202 F.3d 454, 463 (1st Cir. 2000); Flynt v.

   Brownfield, Bowen & Bally, 882 F.2d 1048, 1051 (6th Cir. 1989); In re Dow, 132 B.R. 853, 858

   (Bankr. S.D. Ohio 1991); Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, Inc., 167 F. Supp.

   2d 128, 129 (D. Mass. 2001). “The keys to deciding the scope of a joint representation are the

   parties’ intent and expectations” as “finding too broad the scope of a joint representation gives the

   parties more control over each other’s ability to waive the privilege than they intended and...subjects

   them to losing it in litigation with one another”. Id. at 363.

           “When co-clients and their common attorneys communicate with one another, those

   communications are in confidence for privilege purposes...[and] the privilege protects those

   communications from compelled disclosure to persons outside the joint representation”. Id.

   “Waiving the joint-client privilege requires the consent of all joint clients”, although “a client may

   unilaterally waive the privilege as to its own communications with a joint attorney so long as those

   communications concern only the waiving client...[and] may not...unilaterally waive the privilege

   as to any of the other joint clients’ communications or as to any of its communications that relate to

   other joint clients”. Id. Importantly, “if two or more persons are jointly represented by the same


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   lawyer in a matter, a communication of either co-client that relates to matters of common interest

   is privileged as against third persons”. Id. at 366-67. This is to say that “because co-clients agree

   to share all information related to the matter of common interest with each other and to employ the

   same attorney, their legal interests must be identical...in order that an attorney can represent them

   with all the candor, vigor, and loyalty that our ethics require”. Id. at 367.

                  8.      Implied Waiver of Privilege

          Privilege may not be used both as a sword and a shield. In re Human Tissue Prods. Liab.

   Litigation, 255 F.R.D. 151, 158 (D.N.J. 2008). Indeed, “a litigant cannot at one and the same time

   make use of those privileged communications which support his position while hoping to maintain

   the privilege as those communications which undercut his legal position”. 1 Edna Selan Epstein,

   The Attorney-Client Privilege and the Work Product Doctrine 508 (5th ed. 2007) (“Epstein”).

   “Courts have found an implied waiver of the attorney-client and/or attorney work product privilege

   where a client affirmatively places otherwise privileged information at issue in the case”. In re

   Human Tissue, 255 F.R.D. at 158. There are several factors that courts have considered in

   determining whether a waiver by affirmative reliance has occurred. These include:

                  (1) assertion of the privilege was a result of some affirmative act,
                  such as filing suit, by the asserting party;

                  (2) through this affirmative act, the asserting party put the protected
                  information at issue by making it relevant to the case; and

                  (3) application of the privilege would have denied the opposing party
                  access to information vital to his defense.

   Hearn v. Rhay, 68 F.R.D. 574, 581 (E.D. Wash. 1975); see also In re Human Tissue, 255 F.R.D. at

   159; Rhone-Poulenc Inc. v. Home Indem. Co., 32 F.3d 851, 863 (3d Cir. 1994).

          Other courts have focused on overriding fairness considerations in assessing whether an

   implied waiver has occurred. In re Human Tissue, 255 F.R.D. at 159. See, e.g., Goldberg v.

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   Hirschberg, 10 Misc.3d 292, 806 N.Y.S.2d 333, 335 (N.Y. Sup. Ct. 2005) (“The sanctity of the

   attorney-client privilege notwithstanding, ‘[it] may implicitly be waived when [a party] asserts a

   claim that in fairness requires examination of protected communications.’”)(quoting United States

   v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991)); Wolosoff, 196 N.J. Super at 567 (“We are

   persuaded that ‘when confidential communications are made a material issue in a judicial

   proceeding, fairness demands waiver of the privilege.’”); In re Hillsborough Holdings Corp., 176

   B.R. 223, 238-39 (M.D. Fla. 1994) (“A party waives the attorney-client and accountant-client

   privileges which attach to various communications if that party ‘injects into the case an issue that

   in fairness requires an examination of otherwise protected communications.’”). Whether fairness

   requires disclosure is decided “on a case-by-case basis, and depends primarily on the specific context

   in which the privilege is asserted”. In re Grand Jury Proceedings, 219 F.3d 175, 183 (2d Cir. 2000).

                  9.      Limitations on Waiver

          Pursuant to FED . R. EVID . 502(b),

                  Inadvertent disclosure. When made in a Federal proceeding or to a
                  Federal office or agency, the disclosure does not operate as a waiver
                  in a Federal or State proceeding if:

                  (1) the disclosure is inadvertent;
                  (2) the holder of the privilege or protection took reasonable steps to
                  prevent disclosure; and
                  (3) the holder promptly took reasonable steps to rectify the error,
                  including (if applicable) following Federal Rule of Civil Procedure
                  26(b)(5)(B).

   However, pursuant to the Protective Order executed by the parties in this matter,

                  8. Inadvertent production of documents subject to work product
                  immunity or the attorney-client privilege or any other privilege or
                  immunity shall not constitute a waiver of the immunity or privilege,
                  provided that the producing party promptly notifies the receiving
                  party in writing of such inadvertent production after the producing
                  party learns of such inadvertent disclosure. No party shall thereafter
                  assert that such inadvertent production waived any privilege or

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                   immunity. The receiving party shall return such inadvertently
                   produced item(s) of information and all copies thereof within ten (10)
                   business days after the earliest of (a) discovery by the receiving party
                   of its inadvertent production , or (b) receiving a written request from
                   the producing party for the return of such item(s). The receiving party
                   having returned such inadvertently produced item(s) may thereafter,
                   without asserting waiver because of the inadvertent production, seek
                   production of any such item(s) in accordance with applicable law.

   See dkt. entry no. 68.

           B.      Graco’s Motion to Compel

           Here, Graco seeks to compel production of the following:

                   (a)      all documents highlighted on Exhibits J-O submitted with
                            Graco’s Motion;

                   (b)      all documents PMC has designated as within the ‘common
                            interest privilege’;

                   (c)      all documents PMC has designated as within the ‘work-
                            product privilege’ that predate the initiation of this action on
                            March 14, 2008;

                   (d)      all documents PMC has designated as within the ‘attorney-
                            client privilege’ that include third parties who are not
                            attorneys for PMC or agents of attorneys for PMC;

                   (e)      all documents PMC has designated as within the ‘work-
                            product privilege’ that were not prepared in anticipation of
                            litigation or for trial;

                   (f)      all documents PMC has designated as within the ‘attorney-
                            client privilege’ that do not have as their predominant purpose
                            the provision of legal advice; and

                   (g)      revised privilege and redaction logs that reflect the production
                            of the above referenced documents.

   See Pl.’s Proposed Form of Order, dkt. entry no. 465-1.

           Based upon the arguments offered by the parties, and the very fact that privileged logs are

   at issue, it is clear that the documents requested are relevant pursuant to FED . R. CIV . P. 26, that PMC


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   has asserted attorney-client, work-product, and common-interest privileges over those documents,

   and that Graco has challenged PMC’s designation of specific highlighted documents. See Cert. of

   David J. Wallace-Jackson (“Wallace-Jackson”), Exhs. J-O. At this time, the Court finds that it is

   unable to accurately address the concerns raised by Graco due to the abstract nature of the issue

   presented – namely, whether PMC has properly asserted and/or waived various privilege claims –

   without reviewing the documents. Although the Court makes no finding as to the propriety of

   PMC’s privilege claims, the Court does find that Graco has presented sufficient facts to warrant an

   in camera review. Specifically:

                  -Graco was provided documents that it contends were “purely
                  business-related” but were nevertheless clawed back by PMC and
                  marked as privileged, thereby leading Graco to suspect that PMC’s
                  privilege logs contain other similar instances (see Pl.’s Br. at 8-9, 13-
                  14, 26-29);

                  -PMC has asserted privilege claims over documents shared with
                  former employees, consultants, and non-attorneys which it insists
                  were communications in furtherance of legal representation (see Pl.’s
                  Br. at 9-10; see also Def.’s Opp’n Br. at 6);

                  -PMC has asserted privilege claims over at least two (2) documents
                  which it claims constitute a “draft employment contract” protected
                  under attorney-client privilege, while Graco maintains that same have
                  “no connection to anticipated or ongoing litigation” and are not
                  protected under work-product privilege (see Def.’s Opp’n Br. at 6-7;
                  see also Pl.’s Br. at 11-12);

                  -PMC has withheld a substantial number of documents by way of the
                  common-interest doctrine by using the description
                  “Document/communication in connection with Entry No. 7” without
                  providing any additional indication that a client was seeking or
                  receiving legal advice or a means by which the Court or Graco can
                  evaluate the privilege claim, thereby leading Graco to question
                  whether the elements of a common-interest privilege exist (see Pl.’s
                  Br. at 12-21); and

                  -the nature of the allegations made by the parties in this matter,
                  coupled with a contentious discovery process, have produced
                  examples of conduct that would support a good faith belief by a

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                   reasonable person that an in camera review may reveal evidence to
                   establish the claim that the crime-fraud exception to privilege claims
                   applies (see Haines, 975 F.2d at 96; see also Zolin, 491 U.S. at 572.;
                   Pl.’s Br. at 22-26).

           An in camera review will provide the Court with the appropriate context within which to rule

   on whether the privilege claims challenged by Graco have been appropriately asserted by PMC.

   Upon concluding its review, the Court will issue an additional Order – relying upon the facts, law

   and reasoning set forth herein – as to which documents, if any, PMC may be compelled to produce.

   IV.     CONCLUSION AND ORDER

           The Court having considered the papers submitted and opposition thereto, and for the reasons

   set forth above;

           IT IS on this 14th day of February, 2011,

           ORDERED that Plaintiff’s Motion to compel the production of documents or, in the

   alternative, for an in camera review [dkt. entry no. 465] is GRANTED insofar as the Court will

   conduct an in camera review of the documents highlighted by Graco in the Cert. of Wallace-Jackson,

   Exhs. J-O and the documents PMC clawed back under cover of letters dated March 1, 2010 and June

   30, 2010; and it is further

           ORDERED that PMC shall provide the Court with the materials set forth above by March

   4, 2011; and it is further

           ORDERED that PMC shall provide the Court with an alphabetical list identifying all of the

   senders, recipients, and parties copied on the above materials, including their names, positions,

   employers, and whether they were/are attorneys by March 4, 2011.


                                                  s/ Douglas E. Arpert
                                                  DOUGLAS E. ARPERT
                                                  UNITED STATES MAGISTRATE JUDGE


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